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                   Exhibit A
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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_________________________________________
                                              :
RUTHANN BAUSCH, MARCIA DAY                    :
DONDIEGO, JUDITH REED, RHODA                  :
EMEFA AMEDEKU, DANIEL STROHLER, :
SHARON STROHLER, BERNARD BOAKYE :
BOATENG, LORI RIEKER, and LISA                :
DANNER,                                       :
                                              :
                             Plaintiffs,      : No. 22-cv-02111-JMG
                     v.                       :
                                              :
LEHIGH COUNTY BOARD OF ELECTIONS, :
NORTHAMPTON COUNTY BOARD OF                   :
ELECTIONS, and LEIGH M. CHAPMAN, in :
her capacity as Secretary of the Commonwealth :
of Pennsylvania,                              :
                                              :
                             Defendants.      :
                                              :

INTERVENOR-PLAINTIFF NICK MILLER’S PROPOSED JOINDER IN PLAINTIFFS’
  COMPLAINT FOR DECLARATORY AND EMERGENCY INJUNCTIVE RELIEF

        Intervenor-Plaintiff Nick Miller, by and through his undersigned counsel, hereby joins

Plaintiffs’ Complaint for Declaratory and Emergency Injunctive Relief as follows:

  I.    INTRODUCTION

        1.      Admitted upon information and belief. Answering further, Intervenor-Plaintiff

Miller states that, upon information and belief, the 260 votes identified by Plaintiffs in their

Complaint have not been counted in the unofficial results by the Lehigh County and Northampton

County Boards of Elections. Intervenor-Plaintiff Miller is without knowledge or information

sufficient to form a belief as to whether there are additional other ballots that fall into the categories

identified by Plaintiffs. Intervenor-Plaintiff Miller reserves the right to assert that all ballots that

fall into the categories identified by Plaintiffs should be counted.
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        2.      Admitted upon information and belief. Answering further, Intervenor-Plaintiff

Miller states that, upon information and belief, Plaintiffs Ruthann Bausch, Marcia Day Dondiego,

Judith Reed, and Rhoda Emefa Amedeku are among voters whose mail-in ballots will not count

because they were not placed in a “secrecy envelope” before being returned to the Lehigh County

and Northampton County Boards of Elections. Intervenor-Plaintiff Miller is without knowledge or

information sufficient to form a belief as to whether there are additional more Democratic voters

than the 94 in Lehigh County and 23 in Northampton County whose mail-in ballots will not count

because they were not placed in a “secrecy envelope” before being returned to the Lehigh County

and Northampton County Boards of Elections. Intervenor-Plaintiff Miller reserves the right to

assert that all ballots that fall into the categories identified by Plaintiffs should be counted.

        3.      Admitted upon information and belief. Answering further, Intervenor-Plaintiff

Miller states that, upon information and belief, Plaintiffs Daniel Strohler, Sharon Strohler, Bernard

Boakye Boateng, Lori Reiker, and Lisa Danner are among voters whose mail-in ballots will not

count because they were returned after the date of the primary election but before the deadline for

military and overseas ballots. Intervenor-Plaintiff Miller is without knowledge or information

sufficient to form a belief as to whether there are additional more Democratic voters than the 118

in Lehigh County and 25 in Northampton County whose mail-in ballots will not count because

they were returned after the date of the primary election but before the deadline for military and

overseas ballots. Intervenor-Plaintiff Miller reserves the right to assert that all ballots that fall into

the categories identified by Plaintiffs should be counted.

        4–5.    Admitted.

 II.    JURISDICTION AND VENUE

        6–9.    Admitted.



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III.    PARTIES

        10–13. Admitted upon information and belief.

        14–16. Admitted.

IV.     FACTS

        17.     Admitted upon information and belief. Intervenor-Plaintiff Miller is without

knowledge or information sufficient to form a belief as to whether there are more than 117

Democratic in the Fourteenth Senatorial District whose mail-in ballots will not count because they

were not placed in a “secrecy envelope” before being returned to the Lehigh County and

Northampton County Boards of Elections. Intervenor-Plaintiff Miller reserves the right to assert

that all ballots that fall into the categories identified by Plaintiffs should be counted.

        18.     Admitted upon information and belief. Intervenor-Plaintiff Miller is without

knowledge or information sufficient to form a belief as to whether there are more than 143

Democratic voters in the Fourteenth Senatorial District whose mail-in ballots will not count

because they were returned after the date of the primary election but before the deadline for

military and overseas ballots. Intervenor-Plaintiff Miller reserves the right to assert that all ballots

that fall into the categories identified by Plaintiffs should be counted.

        19.     Admitted upon information and belief.

        20–38. Admitted.

 V.     CLAIMS

        39–86. Admitted.

        WHEREFORE, Intervenor-Plaintiff Nick Miller respectfully requests that this Court

grant the relief requested in the Complaint for Declaratory and Emergency Injunctive Relief for




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any and all ballots that fall into the categories at issue in the Complaint for Declaratory and

Emergency Injunctive Relief.

                                                   Respectfully submitted,

                                                    /s/ Timothy J. Ford
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                                                   Attorney for Intervenor-Plaintiff Nick Miller
Dated:        June 7, 2022




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